       Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 1 of 13



 1   John V. Picone III, Bar No. 187226
     jpicone@hopkinscarley.com
 2   Jeffrey M. Ratinoff, Bar No. 197241
     jratinoff@hopkinscarley.com
 3   HOPKINS & CARLEY
     A Law Corporation
 4   The Letitia Building
     70 South First Street
 5   San Jose, CA 95113-2406
     mailing address:
 6   P.O. Box 1469
     San Jose, CA 95109-1469
 7   Telephone:     (408) 286-9800
     Facsimile:     (408) 998-4790
 8
     Attorneys for Plaintiffs and Counter-Defendants
 9   NEO4J, INC. and NEO4J SWEDEN AB
10   Adron W. Beene, Bar No. 129040
     adron@adronlaw.com
11   Adron G. Beene SB# 298088
     adronjr@adronlaw.com
12   Attorney at Law
     7960 Soquel Drive Suite #296
13   Aptos, CA 95003
     Tel: (408) 392-9233
14
     Attorneys for Defendants and Counterclaimants
15   PURETHINK LLC, IGOV INC., and JOHN
     MARK SUHY
16

17                                     UNITED STATES DISTRICT COURT

18                                NORTHERN DISTRICT OF CALIFORNIA

19   NEO4J, INC., a Delaware corporation,                  CASE NO. 5:18-cv-07182-EJD
     NEO4J SWEDEN, AB, a Swedish
20   corporation,                                          STIPULATION OF UNDISPUTED FACTS
                                                           FOR TRIAL
21                       Plaintiffs,
                                                           Trial Date: November 14, 2023
22            v.
23   PURETHINK LLC, a Delaware limited
     liability company, IGOV INC., a Virginia
24   corporation, and JOHN MARK SUHY, an
     individual,
25
                         Defendants.
26

27   AND RELATED COUNTERCLAIMS.
28
     4859-6727-0801.2
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 2 of 13



 1                                                STIPULATION
 2               This Stipulation is made between Plaintiffs and Counter-Defendants Neo4j, Inc. and Neo4j
 3   Sweden AB (collectively “Plaintiffs”) and Defendants and Counterclaimants PureThink LLC, iGov
 4   Inc. and John Mark Suhy (collectively, “Defendants”) through their respective counsel as follows:
 5               WHEREAS, Plaintiffs and Defendants (collectively, the “Parties”) included a list of
 6   relevant facts to which the parties would stipulate for incorporation into the trial record without
 7   the necessity of supporting testimony or exhibits in their Amended Joint Pretrial Statement (Dkt.
 8   No. 220), which included factual findings from the Court’s May 18, 2021 summary judgment
 9   order (Dkt. No. 118) and October 15, 2023 summary judgment order (Dkt. No. 216).
10               WHEREAS, the Parties agreed that those factual findings supporting the Court’s findings
11   of Defendants’ liability under the Lanham Act and DMCA are settled, subject to any rights
12   Defendants have in appealing the Court’s orders, and thus do not need to be restated for purposes
13   of trial.
14               WHEREAS, the Parties agreed that they would file a separate stipulation indicating which
15   of those facts have been removed from the prior list and those that they agree shall be
16   incorporated into the trial record without the necessity of supporting testimony or exhibits.
17               ACCORDINGLY, the Parties HEREBY STIPULATE to the following amended list of
18   relevant undisputed facts for incorporation into the trial record without the necessity of supporting
19   testimony or exhibits:
20               1.     Neo4j USA is the parent corporation of Neo4j Sweden, which in turn is a wholly
21   owned subsidiary of Neo4j USA.
22               2.     Removed.
23               3.     Removed.
24               4.     Removed.
25               5.     Prior to May 2018, Neo4j Sweden offered a free and open source version of the
26   Neo4j® graph database platform, Neo4j® Community Edition (“Neo4j® CE”), under the
27   GNU General Public License version 3 (“GPL”) license. Neo4j® CE is limited in its feature
28   set and does not come with technical or administrative support.
     4859-6727-0801.2
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 3 of 13



 1            6.        Plaintiffs also offered a more advanced commercial version, which included
 2   additional features and support services, known as the Neo4j Enterprise Edition (“Neo4j®
 3   EE”). Prior to May 2018, Plaintiffs offered Neo4j® EE under both a paid-for commercial
 4   license and for free under the GNU Affero General Public License, version 3 (“APGL”).
 5            7.        Removed.
 6            8.        Removed.
 7            9.        Removed.
 8            10.       Neo4j® EE v3.4 included advanced scalability, availability, security, and
 9   operational features that were not previously available.
10            11.       In November 2018, Plaintiffs officially released Neo4j® EE v3.5 solely under
11   a commercial license.
12            12.       Prior to the official release of Neo4j® EE v3.5, Plaintiffs published several beta
13   versions via their GitHub repository subject to the Neo4j Sweden AGPL Software License.
14   Neo4j® EE v3.5.0-RC1 was the last pre-release version available to Defendants via GitHub.
15   Id. Thereafter, only the source code for Neo4j® CE was made publicly available under the
16   GPL via Github.
17            13.       Removed.
18            14.       Removed.
19            15.       John Mark Suhy founded PureThink in 2002, which is a software and
20   information technology consulting company specializing in supporting agencies within the
21   U.S. Government that use Neo4j® graph database software.
22            16.       PureThink is a single person company filing as an s-corporation for tax
23   purposes. Since at least September 1, 2014, Suhy has been the sole employee, member and
24   manager of PureThink.
25            17.       On September 30, 2014, PureThink and Neo4j USA entered into the Neo
26   Technologies Solution Partner Agreement (“Partner Agreement” or “SPA”).
27   ///
28   ///
     4859-6727-0801.2                                    -3-
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 4 of 13



 1            18.       Neo4j Government Edition (“Gov’t Edition”) consisted of Neo4j® EE and
 2   certain FISMA security plug-ins provided by PureThink, and a framework provided by
 3   GraphAware.
 4            19.       PureThink marketed Gov’t Edition to the IRS, however, the IRS indicated that
 5   it would require a prototype before purchasing a full subscription.
 6            20.       Removed.
 7            21.       On September 23, 2016, the IRS’s Office of Research, Applied Analytics and
 8   Statistics (“RAAS”) awarded PureThink a one-year contract for the “Implementation of the
 9   Government Neo4j project” for $229,000.
10            22.       Removed.
11            23.       Removed.
12            24.       Mr. Suhy has been the sole employee, officer and director of iGov since he
13   formed the corporation.
14            25.       Removed.
15            26.       Removed.
16            27.       Removed.
17            28.       Removed.
18            29.       Removed.
19            30.       Removed.
20            31.       Removed.
21            32.       Removed.
22            33.       Prior to replacing the Neo4j Sweden Software License with the AGPL, Suhy
23   sought guidance from the FSF, which told him “[t]he copyright holder on a work is the one
24   with the power to enforce the terms of the license” and “[i]f a work was previously available
25   under a free license, and later that license is changed, users can always use that earlier version
26   under the terms of the free license.” The FSF also warned that “we cannot provide you with
27   legal advice” and that he should “talk with legal counsel.”
28   ///
     4859-6727-0801.2                                    -4-
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 5 of 13



 1            34.        Prior to replacing the Neo4j Sweden Software License with the AGPL, Suhy
 2   did not seek independent legal advice from any attorney.
 3            35.        Removed.
 4            36.        Removed.
 5            37.        Removed.
 6            38.        Removed.
 7            39.        Removed.
 8            40.        Removed.
 9            41.        Removed.
10            42.        Mr. Suhy provided hyperlinks to potential users of Neo4j® EE to view and
11   download           ONgDB    from    GFI’s     website     and     GitHub   repository   from   his
12   jmsuhy@purethink.com email account.
13            43.        Mr. Suhy provided hyperlinks to potential users of Neo4j® EE to download
14   ONgDB from GFI’s website and GitHub repository from his jmsuhy@igovsol.com email
15   account.
16            44.        iGov’s website provided links to potential users of Neo4j® EE to download
17   ONgDB directly from iGov and from GFI’s website.
18            45.        iGov and Mr. Suhy operated www.graphstack.io, which provided information
19   about ONgDB and hyperlinks for consumers to directly download ONgDB v.3.5.x and
20   ONgDB v.3.6.x.
21            46.        Removed.
22            47.        Removed.
23            48.        Removed.
24            49.        Removed.
25            50.        Removed.
26            51.        Removed.
27            52.        Removed.
28            53.        Removed.
     4859-6727-0801.2                                    -5-
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 6 of 13



 1            54.       Removed.
 2            55.       Removed.
 3            56.       Removed.
 4            57.       Removed.
 5            58.       Neo4j Sweden owns of all copyrights related to the Neo4j graph database
 6   platform, including the source code, and has licensed those copyrights to Neo4j USA.
 7            59.       Neo4j Sweden did not give Mr. Suhy permission to replace the Neo4j Sweden
 8   Software License with verbatim copies of the AGPL in the 28 LICENSE.txt files in ONgDB
 9   v3.4 and ONgDB v3.5.
10            60.       Suhy knowingly distributed Neo4j® EE source code without the Neo4j Sweden
11   Software License with the understanding that it would result in the infringement of Neo4j
12   Sweden’s copyrights.
13            61.       Suhy submitted a bid for a new contract issued by the IRS via another entity
14   that he had an ownership interest in at the time, eGovernment Solutions, Inc. (“eGov Sol” or
15   “eGov Solutions”).
16            62.       Under the proposal for the new contract signed by Suhy, the scope of work
17   required iGov to perform “all operations and maintenances duties for all components of the
18   CKGE framework….”             iGov would also be “responsible for ensuring any open source
19   products within the CKGE conform to their license-terms” and iGov would “need to work with
20   the following components: React, Angularjs, Neo4j….”
21            63.       On May 22, 2018, Neo4j USA informed the IRS, including those in RAAS, that
22   Neo4j Sweden added Commons Clause to Neo4j® EE 3.4, and the resulting need to obtain a
23   commercial subscription if they intended to use that software in the CKGE platform.
24            64.       On May 22, 2018, Suhy sent an email to the IRS claiming Neo4j Sweden could
25   not add the Commons Clause to the license governing Neo4j® EE v3.4.
26            65.       On May 24, 2018, the RAAS division of the IRS awarded eGov Solutions the
27   new contract, Order No. 2032H8-18-P-00151, as amended Order No. 2032H8-18-P-00168, to
28   further develop and support the CKGE in May 2018 (“CKGE Contract”).
     4859-6727-0801.2                                    -6-
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 7 of 13



 1            66.       In July 2018, Jason Zagalsky, a sales representative from Neo4j USA, met with
 2   employees of the IRS, and then provided a quote of $156,000 for one-year subscription and a
 3   $397,800 for a 3-year subscription for a Neo4j® EE v3.4 based on then-current requirements
 4   of CKGE.
 5            67.       As of August 2018, the IRS understood that Neo4j® CE had a performance
 6   limitation to only 4 cores, while Neo4j® EE had enterprise-only features, came with
 7   professional services and subscriptions, and was priced based on number of cores.
 8            68.       Under the CKGE Contract, Suhy provided input in the architecture design and
 9   hardware requirements needed to run ONgDB installations on multiple servers within the
10   CKGE.
11            69.       In August 2018, Suhy recommended that the IRS integrate ONgDB v3.4 rather
12   than Neo4j® EE v3.4 in the CKGE framework, and claimed that “ONgDB open source licenses
13   come directly from the Graph Foundation as well, not from Neo4j Inc.”
14            70.       Based on Suhy’s recommendation, Mike Dunn at the IRS instructed him to
15   “[g]o ahead and integrate the ONgDB into the CKGE framework we’ll deploy” on August 14,
16   2018.
17            71.       While working at the IRS, Mr. Suhy helped the IRS upload ONgDB source
18   code into the IRS’s internal repository.
19            72.       The IRS decided to not allocate $156,000 for a license to use Neo4j® EE in the
20   CKGE platform because ONgDB was a free and open, unrestricted alternative.
21            73.       Under the CKGE contract, Suhy and iGov were responsible for supporting,
22   maintaining and updating ONgDB in an internal GitLab repository for the RAAS at the IRS.
23            74.       Under the CKGE contract, Suhy and iGov helped the IRS upgrade the CKGE
24   platform to ONgDB v3.5 in April 2019 and integrated subsequent subversions through at least
25   April 2022.
26            75.       After April 2022, the IRS started calling ONgDB v3.5 just “GDB” due to the
27   injunction entered against GFI and its rollback of ONgDB source code.
28   ///
     4859-6727-0801.2                                    -7-
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 8 of 13



 1            76.       GDB was merely a name change because it was still based on Neo4j® EE v3.5
 2   source code that was improperly licensed under the AGPL without the Commons Clause,
 3   which Suhy continued to be responsible for maintaining on the IRS’s internal Gitlab repository.
 4            77.       The IRS used at least one Neo4j® enterprise-only feature, node ID, via ONgDB
 5   in CKGE.
 6            78.       The IRS understood that Neo4j® EE can run Cypher queries significantly faster
 7   than Neo4j® CE, which is advantageous in terms of productivity.
 8            79.       The initial hardware available to run Neo4j® EE in the IRS’s pre-CKGE
 9   platform were for one server with at least 16 cores and 1 terabyte of RAM under the September
10   23, 2016 contract award to PureThink.
11            80.       As of December 2018, the CKGE (a/k/a “main graph”) was running, or was
12   expected to be running, on at least two production servers and one development / test server
13   utilizing ONgDB. Each machine was comprised of a DL380 with 32 cores and 256GB of
14   RAM at minimum.
15            81.       As of March 2019, the IRS was running ONgDB on three production servers,
16   and one development server in the CKGE, totaling four instances of ONgDB.
17            82.       In 2020, the IRS continued to run ONgDB on at least three production servers
18   in the CKGE with four total instances of ONgDB.
19            83.       In 2021, the IRS continued to run ONgDB on at least three production servers
20   in the CKGE with four total instances of ONgDB.
21            84.       In 2022, the IRS continued to run ONgDB on at least two production servers in
22   the CKGE with at least three total instances of ONgDB.
23            85.       Each machine in the CKGE running ONgDB was comprised of a DL380 with
24   32 cores and 256GB of RAM.
25            86.       As of November 2022, the IRS would only want the bare-minimum Neo4j® EE
26   package for two nodes, each with 16 cores and 256GB RAM for the CKGE.
27            87.       On August 14, 2018, Mike Dunn asked Suhy to inform the YK1 team of the
28   switch to ONgDB v3.4.x into the CKGE framework “we’ll deploy.”
     4859-6727-0801.2                                    -8-
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 9 of 13



 1            88.       By December 2018, the IRS’s YK1 began using one instance of ONgDB.
 2            89.       The minimum server specifications for YK1 at the IRS was a DL380 with 12
 3   cores and 256GB of RAM.
 4            90.       In 2019, one instance of ONgDB was running on its own server in YK1 at the
 5   IRS.
 6            91.       In 2020, one instance of ONgDB was in production and running on its own
 7   server in YK1 at the IRS.
 8            92.       In 2021, one instance of ONgDB was in production and running on its own
 9   server in YK1 at the IRS.
10            93.       In 2022, two instance of ONgDB in production and two instances of ONgDB
11   in development/test in YK1 at the IRS.
12            94.       Starting in 2019 and continuing through 2022, the IRS ran a separate instance
13   of ONgDB in development in a project called “Corporate Graph.”
14            95.       The minimum server specifications for Corporate Graph are DL380 with 12
15   cores and 256GB of RAM.
16            96.       Starting in 2020 and continuing through 2022, the IRS ran one instance of
17   ONgDB in production in a project called “Excise Graph.”
18            97.       The minimum server specifications for Excise Graph are DL380 with 12 cores
19   and 256GB of RAM.
20            98.       Starting in summer of 2020 and continuing through September/October 2021,
21   the IRS ran one separate instance of ONgDB in development for its COVID Graph project.
22            99.       Starting in September/October 2021 and continuing through October 2022, the
23   IRS ran one separate instance of ONgDB in production for its COVID Graph project.
24            100.      The minimum server specifications for COVID Graph are DL380 with 12 cores
25   and 256GB of RAM.
26            101.      Starting in 2021 and continuing through 2022, the IRS ran one separate instance
27   of ONgDB in development for a project called “Policy Net.”
28   ///
     4859-6727-0801.2                                    -9-
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 10 of 13



 1            102.      The minimum server specifications for Policy Net are DL380 with 12 cores and
 2   256GB of RAM.
 3            103.      Starting in 2021 and continuing through 2022, the IRS ran one separate instance
 4   of ONgDB in development called “Individual Graph.”
 5            104.      The minimum server specifications for Individual Graph are DL380 with 12
 6   cores and 256GB of RAM.
 7            105.      In 2022, the IRS ran one separate instance of ONgDB in development in a
 8   project called “CPEO Graph.”
 9            106.      The minimum server specifications for CPEO Graph are DL380 with 12 cores
10   and 256GB of RAM.
11            107.      In 2022, the IRS ran one separate instance of ONgDB in development called
12   “Ghost Preparer.”
13            108.      The minimum server specifications for Ghost Preparer graph are DL380 with
14   12 cores and 256GB of RAM.
15            109.      Between September 2019 and September 2022, Neo4j sold commercial
16   subscriptions of Neo4j® EE to divisions at the IRS other than RAAS for a total price of
17   approximately $1,380,000. These licensed products include a new subscription to Neo4j’s
18   Enterprise Bundle in 2019 (as well as renewal subscriptions in 2020, 2021, and 2022).
19            110.      The Maryland Procurement Office (a/k/a the National Security Agency, the
20   NSA and the MPO) tasked Next Century to analyze available graph database technologies,
21   including Neo4j® EE.
22            111.      Next Century and the MPO required the enterprise-only features, such as causal
23   clustering and multi-data centers, offered by both Neo4j® EE and ONgDB.
24            112.      Next Century learned about the pricing of Neo4j Enterprise software bundles
25   offered by Neo4j USA and iGov from iGov’s website.
26            113.      In October 2018, Next Century exchanged emails with Suhy regarding
27   representations made on iGov’s website that ONgDB v3.4 was an open source version of
28   Neo4j® EE that provided the same enterprise-only features for free.
     4859-6727-0801.2                                   - 10 -
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 11 of 13



 1            114.      Suhy told Next Century that the MPO could use ONgDB v3.4 under the AGPL
 2   without restrictions or paying Plaintiffs for a commercial license, as advertised on the iGov’s
 3   website.
 4            115.      As a result of Next Century’s communications with Suhy, Next Century
 5   downloaded ONgDB v3.4 and began evaluating against Neo4j® EE v3.4.
 6            116.      In a series of emails with Next Century ending on January 4, 2019, Suhy
 7   confirmed that ONgDB v3.5 would have feature parity with the enterprise features of Neo4j®
 8   EE v3.5, and would also be available without restrictions on the number of clusters, instances
 9   and cores and without paying Neo4j USA for a commercial license. This led Next Century to
10   upgrade from ONgDB v3.4 to ONgDB v3.5.
11            117.      By February 2019, the MPO had chosen to use ONgDB v3.5 over Neo4j® EE
12   v3.5 for continued development work for the MPO.
13            118.      On February 5, 2019, Next Century informed Neo4j USA of this decision,
14   stating, “[w]e have found that open-sourced (non-commercial) builds from the Neo4j source
15   code provide the clustering and security requirements needed in our environment.”
16            119.      In March 2019, Next Century gave Neo4j USA the required specifications for
17   its ongoing project with the MPO and ask for Neo4j USA for a quote for use in a production
18   environment.
19            120.      On April 19, 2019, Jason Zagalsky of Neo4j USA sent a 3-year Neo4j
20   Enterprise Edition Enterprise Bundle for $2,266,950 based on those requirements. This
21   included a commercial license and technical support for (a) 12 Production Machines (up to 12
22   cores and 256GB of RAM per Machine); and (b) 12 Test Machines (up to 12 cores and 256GB
23   of RAM per Machine). Neo4j USA also provided a 15% multi-year discount.
24            121.      On April 29, 2019, Next Century confirmed that it shared Neo4j USA’s
25   proposal with the MPO, and was instructed by the MPO to continue using ONgDB.              The
26   reason for the MPO continuing to use ONgDB over Neo4j® EE was price.
27   ///
28   ///
     4859-6727-0801.2                                   - 11 -
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 12 of 13



 1            122.      On July 21, 2019, Next Century informed Neo4j USA that the MPO was not
 2   interested in the Neo4j® EE proposal. Again, the deciding factor between ONgDB and Neo4j®
 3   EE was price.
 4            123.      Next Century continued to use ONgDB v3.5, which was placed into a
 5   production environment for the NSA in or about October 2020.
 6            124.      Neo4j USA has a past history of entering into licensing arrangements with the
 7   MPO, including one transaction in November 2019 wherein the MPO obtained a license for
 8   Neo4j® EE v3.5 discovery bundle for another project, which included one production machine
 9   with 12 cores and 256GB of RAM (as well as one test machine) at a price of $59,250.
10   Dated: November 20, 2023                               HOPKINS & CARLEY
                                                            A Law Corporation
11
                                                            By: /s/ Jeffrey M. Ratinoff
12                                                             John V. Picone III
                                                               Jeffrey M. Ratinoff
13                                                             Attorneys for Plaintiffs and
                                                               Counter-Defendants
14                                                             NEO4J, INC. and NEO4J SWEDEN AB
15

16   Dated: November 20, 2023                                     /s/ Adron W. Beene
                                                                 Adron W. Beene
17                                                               Adron G. Beene
                                                                 Attorneys for Defendants and Counter-
18                                                               Claimants
                                                                 PURETHINK LLC, IGOV INC., and
19                                                               JOHN MARK SUHY
20

21

22

23

24

25

26

27

28
     4859-6727-0801.2                                   - 12 -
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 227 Filed 11/20/23 Page 13 of 13



 1                              ATTESTATION OF E-FILED SIGNATURE
 2            Pursuant to Local Rule 5-1(i)(3), I hereby certify that I have obtained the concurrence in
 3   the filing of this document from all signatories for whom a signature is indicated by a
 4   “conformed” signature (/s/) within this electronically filed document and I have on file records to
 5   support this concurrence for subsequent production to the Court if so ordered or for inspection
 6   upon request.
 7   Dated: November 20, 2023                               HOPKINS & CARLEY
                                                            A Law Corporation
 8

 9                                                          By: /s/ Jeffrey M. Ratinoff
                                                               John V. Picone III
10                                                             Jeffrey M. Ratinoff
                                                               Attorneys for Plaintiffs and
11                                                             Counter-Defendants
                                                               NEO4J, INC. and NEO4J SWEDEN AB
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     4859-6727-0801.2
     STIPULATION OF UNDISPUTED FACTS FOR TRIAL; CASE NO. 5:18-CV-07182-EJD
